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                      BEFORE THE UNITED STATES JUDICIAL PANEL
                           ON MULTIDISTRICT LITIGATION


 IN RE: ORAL PHENYLEPHRINE
 MARKETING AND SALES                                          MDL No. 3089
 PRACTICES LITIGATION



                         INTERESTED PARTY RESPONSE OF
                   PLAINTIFFS LINDA THORNS AND SCOTT COLLIER

         Plaintiffs Linda Thorns and Scott Collier (“Plaintiffs”), named plaintiffs in the putative

class action Thorns et al. v. The Procter & Gamble Company et al., No. 3:23-cv-1355 (D. Or.),1

submit this interested party response in support of Movants Erin Barton et al. (“Movants”)’ Motion

for Transfer of Actions Pursuant to 28 U.S.C. § 1407 for Coordinated or Consolidated Pretrial

Proceedings, Dkt. No. 1 (“Motion”). Plaintiffs support transfer for the purposes of coordinated or

consolidated pretrial proceedings, but submit that the Eastern District of Pennsylvania (under the

Honorable Kai Niambi Scott) is the more appropriate and convenient transferee court.

I.       TRANSFER IS APPROPRIATE UNDER 28 U.S.C. § 1407

         Plaintiffs agree with Movants that transfer for the purposes of coordination or consolidation

is appropriate under 28 U.S.C. § 1407. As noted by Movants and other parties seeking

centralization, all forty-eight (48) pending related cases involve common questions of fact (most

importantly the ineffectiveness of oral phenylephrine to treat nasal decongestion) and overlapping

questions of law. Further, similar to this proposed MDL, this Panel has centralized numerous drug

efficacy and/or contamination cases involving numerous manufacturers, marketers, distributers,




     1
    Plaintiffs have brought suit against Defendants The Procter & Gamble Company, Johnson &
Johnson, and Walgreen Co.

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and sellers.2

          Centralized proceedings will undoubtedly conserve judicial time and resources. Currently,

there are numerous overlapping cases spread across fourteen (14) states 3 involving manufacturer

and/or retailer defendants headquartered in thirteen (13) states. 4 Centralization will ensure

uniform, efficient oversight, avoiding conflicting outcomes and preserving judicial resources.

II.       THE ACTIONS SHOULD BE TRANSFERRED TO THE EASTERN DISTRICT OF
          PENNSYLVANIA BEFORE THE HON. KAI NIAMBI SCOTT

          Plaintiffs submit that the Eastern District of Pennsylvania (under the guidance of the

Honorable Kai Scott) is an appropriate and convenient transferee court. Defendants

GlaxoSmithKline LLC, Bayer Corporation, McNeil Consumer Healthcare, and Rite Aid

Corporation are headquartered in Pennsylvania. Further, the Eastern District of Pennsylvania

compares favorably from a caseload perspective to other potential northeastern U.S. District

Courts, such as the District of New Jersey. 5

          The Honorable Kai Scott presides over the Eastern District of Pennsylvania’s first-filed


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     See, e.g., In re Acetaminophen – ASD/ADHD Products Liab. Litig., MDL No. 3043 (multiple
defendant retail sellers); In re Zantac (Ranitidine) Prods. Liab. Litig., MDL No. 2924 (multiple
defendant manufacturers and retail sellers); In re Valsartan, Losartan, & Irbesartan Prods. Liab.
Litig., MDL No. 2875) (multiple defendant manufacturers, wholesalers, and retail sellers).
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     This includes California, Florida, Illinois, Kansas, Louisiana, Minnesota, Missouri, New
Jersey, New York, Ohio, Oregon, Pennsylvania, Rhode Island, and Washington.
      4
   This includes Arkansas, Florida, Idaho, Illinois, Kansas, Michigan, Minnesota, New Jersey,
New York, Ohio, Pennsylvania, Rhode Island, and Washington.
      5
      There are 63,445 pending cases in the District of New Jersey versus 8,155 in the Eastern
District of Pennsylvania. See FEDERAL COURT MANAGEMENT STATISTICS, COMBINED
CIVIL AND CRIMINAL FEDERAL COURT MANAGEMENT STATISTICS (June 30, 2023),
at https://www.uscourts.gov/statistics/table/na/federal-court-management-statistics/2023/06/30-3.
Further, the District of New Jersey already currently has a large number of sprawling, actively
litigated, and resource-intensive MDLs, including the Talcum Powder litigation (MDL No. 2738),
Valsartan litigation (MDL No. 2875), Breast Implant litigation (MDL No. 2921), and Insulin
Pricing litigation (MDL No. 3080). Most MDLs in the Eastern District of Pennsylvania, by
contrast, are well-advanced or concluding (except one, MDL No. 3074).

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case: Parker v. Rite Aid Corporation, et al., No. 23-3663 (E.D. Pa. filed Sep. 20, 2023). Judge

Scott is a capable jurist well-suited to oversee these actions, and is not currently overseeing any

MDL. Philadelphia (where various defendants are headquartered and/or have significant

operations) supports the convenience-of-travel factors in favor of the Eastern District of

Pennsylvania.

       For all of the aforementioned reasons, transfer for the purposes of coordinated or

consolidated pretrial proceedings to the Eastern District of Pennsylvania before the Honorable Kai

Niambi Scott is appropriate.

October 25, 2023                             Respectfully submitted,

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